                                  UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF ALASKA

UNITED STATES OF AMERICA,              )               Case No. 3:16-cr-00035-SLG-SAO
                                       )               Case No. 3:16-cr-00058-SLG-SAO
                  Plaintiff,           )
                                       )               REPORT AND RECOMMENDATION
      vs.                              )               REGARDING DEFENSE MOTION TO
                                       )               SUPPRESS PHYSICAL EVIDENCE
ARNOLD WESLEY FLOWERS, II,             )               FROM SEARCH OF RESIDENCE
                                       )
                                       )               Dkt. 52 in 3:16-cr-00035-SLG-SAO
                  Defendant.           )               (Dkt. 58 in 3:16-cr-00058-SLG-SAO)1
______________________________________ )

                                             Introduction

          The defendant, Arnold Wesley Flowers II (Defendant), moved to suppress all evidence

resulting from execution of a state of Alaska search warrant at 3108 Seclusion Bay Drive. 2 The

Government opposed at Dkt. 70 (Dkt. 82) and Defendant replied at Dkt. 87 (Dkt. 98). Defendant

requested an evidentiary hearing, Government opposed, and the court did not find an evidentiary

hearing necessary to decide the motion. 3 The court considered proffered facts from the parties and

exhibits offered in support of the motion and opposition. 4 Oral argument was held August 23,

2016. 5




1 Docket annotations in 3:16-cr-00058-SLG-SAO will appear in parentheses.

2
    Dkt. 53. (Dkt. 58).
3
 At the August 3, 2016 status hearing, the court heard argument from the parties regarding the
need for an evidentiary hearing and subsequently ruled that none was required to determine this
motion. Dkt. 94 (Dkt. 111), Dkt. 96 (Dkt. 119).
4
    Dkt. 134, at 90. See also August 3, 2016 status hearing. Dkt. 94 (Dkt. 111), Dkt. 96 (Dkt. 119).
5
    Dkt. 140 contains the minutes.



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          Defendant is named in two pending cases before the court. In case 3:16-cr-00035-SLG-

SAO, the defendant was indicted on one count of Possession of a Controlled Substance with Intent

to Distribute violating 21 U.S.C. § 841(a)(1) and (b)(1)(C), one count of Possession of a Firearm

in Furtherance of Drug Trafficking violating 18 U.S.C. § 924(c)(1)(A)(i), and one count of Felon

in Possession of Firearms violating 18 U.S.C. 922(g)(1) and 924(a)(2). 6 In case 3:16-cr-00058-

SLG-SAO, a First Superseding Indictment named the defendant and Miranda May Flowers in

fourteen counts of Wire Fraud in violation of 18 U.S.C. 1343. 7

                                           Issues Presented

                   Defendant Flowers II was charged in part based on evidence obtained from a police

search of his home at 3108 Seclusion Bay Drive in Anchorage, Alaska. An Alaska magistrate judge

authorized the search in warrant No. 3AN-16-824-SW on March 24, 2016, executed on March 29,

2016. 8 Flowers II challenges the lawfulness of the warrant for 3108 Seclusion Bay Drive as well

as law enforcement officers’ reliance upon it. 9 This Report and Recommendation addresses the

following issues:

      1. Whether the evidence presented to the Alaska magistrate judge was sufficient for the
         magistrate to find a substantial basis that probable cause existed to search 3108 Seclusion
         Bay Drive on March 29, 2016.

      2. If the magistrate’s probable cause determination lacked substantial basis, then whether law
         enforcement officers’ application for and reliance on the warrant was objectively
         reasonable under the doctrine of good faith.
                                          Findings of Fact




6
    Dkt. 2.
7
    Dkt. 132.
8
 Officers of the Anchorage Police Department led the search accompanied by other law
enforcement agencies.
9
    Dkt. 52-1.


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          The Alaska magistrate judge made her probable cause determination based on an eighteen-

page affidavit from Detective R. Allen Adair of the Anchorage Police Department (APD). The

affidavit chronicles joint APD and FBI surveillance of Defendant and Davon Smith, among other

individuals, between January 27, 2016, and March 26, 2016, as well as historical information

predating January 27, 2016.

          Detective Adair's affidavit supporting the warrant describes that he has over twenty years

of law enforcement experience, including concentration in the field of drug enforcement. He

completed three different law enforcement academies and conducted hundreds of drug-related

investigations, including investigating the use, possession, manufacture, and trafficking of various

drugs. Detective Adair also served as a drug detector dog handler. The affidavit described his

detailed knowledge of the characteristics common to those involved with drugs applied it to the

behaviors of Defendant and Davon Smith (Smith). Detective Adair described specific examples

of behavior indicating Defendant and Smith were involved in the illegal drug trade. 10

          The investigation leading to the search warrant began when Davon Smith, who lived at

Defendant's house, was observed supplying heroin to a known drug dealer. Smith was on release

from the State of Alaska because of a pending drug offense. Smith resided with Defendant and

his wife, Miranda May Flowers, pursuant to a court order establishing Miranda Flowers as his

custodian. 11 All three lived at 5422 Larkspur until they moved, approximately March 19, 2016, to

3108 Seclusion Bay Drive also in Anchorage, Alaska. On January 27, while the defendant and



10
   Though described in greater detail below, Detective Adair described Defendant and Smith’s
counter-surveillance activities, Flowers II’s very frequent visits to a storage locker at odd
nighttime hours, several times carrying safes, the suspicious timing of some of Flowers II’s visits
to a storage facility with Smith’s short-duration meetings, and the unusual behaviors of the many
short-duration guests frequenting the Larkspur house.
11
     Dkt.53, at 15.


                                                                                                  3
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Smith resided together, Detective Adair, in an undercover capacity, placed an order for heroin with

a known dealer. Police observed the dealer meet with Smith later that day. The next day, APD

officers observed Smith again meet with and supply drugs to the known dealer who then sold

approximately 5 grams of heroin to Detective Adair. This transaction precipitated significant

additional surveillance of Smith and eventually his housemate, Defendant, including eventual

issuance of state warrants to track their whereabouts via GPS and visual surveillance.

       Davon Smith was observed by police regularly coming and going from a duplex at

5422/5420 Larkspur Circle. 12 APD observed three other individuals regularly coming and going

from the same address: Defendant, Arnold Wesley Flowers III (Defendant's son), and Miranda

Flowers. Detective Adair’s query of APSIN confirmed that the Defendant’s registered address was

5422 Larkspur. Based on visual observations, electronic tracking, and APSIN information, Adair

concluded that all four individuals resided at 5422 Larkspur.

       APD also observed Smith’s girlfriend, Lismar Colome, leaving the Larkspur duplex on at

least one occasion while Smith resided there with the defendant. Police were aware at the time

that Colome was wanted under a federal arrest warrant after a recent indictment for possession of

185.62 grams of heroin. That heroin was allegedly found on Colome’s person in September 2015

as police investigated a possible shooting in the apartment she shared with Smith. Colome

allegedly attempted to depart with that heroin, and a search warrant yielded an additional 116.16

grams of heroin in their apartment, along with firearms, money, and drug paraphernalia. With

regard to Defendant, Detective Adair suspected him of being involved in upper level heroin sales




12
  5422/5420 Larkspur is a common Duplex with separate entrances for the two separate
residences.


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based on surveillance and information he received from witnesses and various entities, as

discussed below.

          On February 24, 2016, Detective Adair notes in his affidavit that he spoke with a neighbor

on Larkspur Circle who described to Adair a variety of frequent, short duration vehicle and

pedestrian traffic to and from 5422/5420 Larkspur. More specifically, the neighbor observed that

visitors would frequently park on a nearby street, instead of Larkspur, and enter 5422 through a

specific door before departing shortly thereafter. Detective Adair’s affidavit states that he

confirmed that specific door was that of 5422 Larkspur, the residence of the Flowers’ and Smith,

and that it was consistent with police observations of the foot traffic and manner of entry into the

house. Adair’s affidavit avers that based on his training and experience, the frequent, short

duration visits and unusual manner of visitors’ parking habits, indicates behavior “exercised by

those involved in order to appear somewhat discreet in their endeavors and create a buffer between

the drug supplier I drug customer relationship.” 13

          On February 24, Detective Adair purchased heroin again via Smith. As before, Adair

called his dealer, then Smith was observed departing his Larkspur residence before meeting with

Adair’s dealer. The dealer then delivered approximately 4.5 grams of heroin to Detective Adair.

Later in the day, Officer Deville was confronted by the Defendant as he conducted undercover

surveillance on Larkspur. Initially, Deville was parked several houses to the south of 5422

Larkspur, when the defendant arrived home and took note of him. After staying away for some

twenty minutes, Officer Deville returned to the area and took up surveillance approximately four

houses to the north of 5422 Larkspur this time. Only a few minutes into Deville’s new location,

the defendant drove his vehicle and parked in front of Deville’s undercover vehicle, got out, and


13
     Dkt. 70, at 10.


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asked Deville what he was doing there. When Deville responded that he was waiting for a real

estate agent to show him a house, the Defendant seemed satisfied and departed. Detective Adair

concluded that “based on Defendant's demeanor, surveillance detection abilities, apparent

relationship to Smith, and relationship to 5422 Larkspur Circle ... [Defendant] was still currently

engaged in upper level heroin sales.” 14 Following these events, on February 26, Detective Adair

obtained state search warrant number 3AN-16-559SW from Judge Dickson authorizing a search

of 5422 Larkspur, however it was not served.

          On March 8, Detective Adair observed two men resembling Davon Smith and Flowers III

enter Best Storage, an indoor storage facility at 3521 East Tudor Road in Anchorage, Alaska.

Using binoculars, Detective Adair saw the pair inside and on the fourth floor of the building; locker

number 4045 is located on the same floor and was frequently visited by the Defendant. They

appeared to be accessing a storage locker as they handled some objects. Thereafter, police began

conducting surveillance at Best Storage in tandem with the visual and GPS surveillance of the

Defendant and Smith. At this time, Storage facility cameras and warrant-authorized police

cameras showed Defendant and Flowers III regularly coming and going from the Larkspur

residence to Best Storage. Law enforcement observed the Defendant and Flowers III carrying

large portable safes into and out of locker #4045 on at least five occasions, March 8, 19, 21, 22,

and 24, 2016.

          Between March 17 and March 18, 2016, Officers saw Defendant, his wife, Flowers III and

Smith move from 5422 Larkspur to a new home at 3108 Seclusion Bay Drive. On March 18,

Detective Adair observed Smith, the defendant, and the defendant’s family at Best Storage

accessing unit #3019 on the third floor of the building. Police spoke with a teenager who was


14
     Dkt. 70-1, at 15.


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assisting the Defendant and Smith as they moved their belongings. The teenager informed Adair

that he and the adults were picking up items from a storage locker with which to furnish their new

home. The continuing physical and electronic surveillance of the Defendant and Smith confirmed

that Defendant, his wife, Flowers III, and Smith had relocated to 3108 Seclusion Bay. Accordingly,

the officers discarded the February 24 warrant for Larkspur and sought a new warrant for the

defendant and Smith’s new house at 3108 Seclusion Bay.

       At 3:45 a.m. on March 21, the Defendant was observed accompanied by Flowers III

carrying a safe to locker #4045 at Best Storage. After opening that locker, the Defendant removed

a second safe from within. He then accessed both safes and removed a large bundle of cash,

approximately four inches thick, from one of the safes. Defendant put that currency into a Crown

Royal bag, inspected a second Crown Royal bag, placed both safes into the locker – including the

safe he arrived with – then departed the complex. Later that day, Detective Adair attempted

another heroin purchase from his dealer but was unsuccessful. The dealer informed Adair that

Smith had become leery since the February purchase, but that Smith was in the process of

resupplying his heroin cache.

       On March 22, officers observed Defendant depart Best Storage and drive to 3108 Seclusion

Bay Drive. Approximately five minutes after Defendant arrived home, Smith left the same house

in his vehicle and drove to the Mountain View area of Anchorage where he appeared to engage in

a short duration meeting with an occupant in another vehicle. Thereafter, Smith drove to three

more locations in the nearby area, staying at each for between three and thirty-seven minutes,

before he eventually returned to 3108 Seclusion Bay where his car remained for the night. During

one of the short duration visits, a male was observed entering Smith’s car for three minutes and

then departing. Detective Adair stated that these behaviors were consistent with illegal drug




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transactions based on his training and experience. On March 24, 2016, Detective Adair obtained

state search warrant #3AN-16-824 to search the house at 3108 Seclusion Bay Drive, which was

searched on March 29, 2016.

                                           Conclusions of Law

       a.      The Defendant had a reasonable expectation of privacy in his home; therefore
               he may challenge the warrant.

       Prior to examining the lawfulness of the warrant, the court must first address Government’s

assertion that Defendant lacks Fourth Amendment standing 15 to challenge that warrant. More

specifically, the Government’s argument is that Defendant lacked a privacy interest both in his

home and with regard to evidence seized from within his home, including from within his wife’s

purse. The court’s inquiry, though, is focused on the location of the seized items and not per se on

the possessory status of those items. Defendant had a reasonable expectation of privacy in his

primary residence and thus in the items searched and then seized from his home, regardless of

whether he or a third party owned those items. Accordingly, the court concludes that Defendant

enjoys the right to challenge the warrant which precipitated the seizure of evidence from his home

now used in a prosecution against him.




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   The court recognizes that the Supreme Court has moved away from a Fourth Amendment
“standing” analysis in favor of a substantive inquiry into the reasonableness of the challenger’s
expectation of privacy. See, United States v. $40,955.00 in U.S. Currency, 554 F.3d 752, 756
(9th Cir. 2009) (“The question of who is entitled to contest a search is often framed as one of
standing. However, since the Supreme Court's long history of insistence that Fourth Amendment
rights are personal in nature has already answered many traditional standing inquiries definition
of those rights is more properly placed within the purview of substantive Fourth Amendment law
than within that of standing.”) (internal quotation marks omitted) (citing Rakas v. Illinois, 439
U.S. 128, 140 (1978).); accord Minnesota v. Carter, 525 U.S. 83 (1998).



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          In the Fourth Amendment context, “only those who have a legitimate expectation of

privacy in an area [may] challenge a search of it.” 16 That expectation must be not only legitimate,

but also “must be an actual one and one that society is prepared to recognize as reasonable.” 17 The

challenger bears “the burden of establishing their legitimate expectations of privacy” as a condition

precedent to review of the warrant’s lawfulness. 18 As especially applicable to the instant case, it

is “clear that one's reasonable expectation of privacy in the home is entitled to a unique sensitivity

from federal courts.” 19

          The government’s mainly contends that Defendant failed to make a showing that he “had

any subjective expectation of privacy in the search of 3108 Seclusion Bay Drive or the items

searched inside the residence.” 20 Using an example, the government questions whether Defendant

enjoyed an expectation of privacy in the safes found in one of the bedrooms in his home. This

court’s inquiry, however, is not focused on who holds title to the items seized. Rather, to challenge

the warrant Defendant must demonstrate that he had an acceptable, legitimate expectation of

privacy in the area the items were seized from. 21 With regard to that area, “the sanctity of private




16
     United States v. $40,955.00 in U.S. Currency, 554 F.3d 752, 756 (9th Cir. 2009).
17
     $40,955.00 in U.S. Currency, 554 F.3d 752, 756.
18
     $40,955.00 in U.S. Currency, 554 F.3d 752, 756.
19
   United States v. Reed, 572 F.2d 412, 422 (2d Cir. 1978); accord United States v. $40,955.00
in U.S. Currency, 554 F.3d 752, 756 (9th Cir. 2009); see also Groh v. Ramirez, 540 U.S. 551
(2004); Silverman v. U.S., 365 U.S. 505 (1961); Kyllo v. United States, 533 U.S. 27 (2001).
20
     Dkt. 70, at 7.
21
  United States v. $40,955.00 in U.S. Currency, 554 F.3d 752, 756, (“ownership of the good
seized does not automatically confer standing on a defendant . . . [but] ownership and possession
of as well as access to the area in which the good was found is certainly an important factor in
determining whether a defendant has a legitimate expectation of privacy in it.” (emphases in
original); see also Alderman v. United States, 394 U.S. 165, 176–77 (1969).



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dwellings [is] ordinarily afforded the most stringent Fourth Amendment protection.” 22 In general,

“uncontested declarations of ownership and occupancy establish[] their expectations of privacy in

the entire home.” 23 While Defendant did not own the house at 3108 Seclusion Bay, he did occupy

the house as his home and pay rent for the same, thereby triggering the same Fourth Amendment

principles. 24 Of course, “[t]he Fourth Amendment shields not only actual owners, but also anyone

with sufficient possessory rights over the property searched.” 25 Protections are triggered when an

individual has joint control of a place as evidenced by, for example, an ongoing formal agreement,

payment of rent or bills, and use of the place for its agreed upon purpose. 26

          The government relies upon U.S. v. Thomas to support its argument regarding a defendant's

ownership interest and expectation of privacy. 27 Thomas is distinguished for several reasons.

First, Thomas involved an automobile where “less rigorous warrant requirements govern because

the expectation of privacy with respect to one's automobile is significantly less than that relating

to one's home or office.” 28 Relevant in our case is that the Thomas court acknowledged the

standard for residential tenants. 29 Thomas found its defendant possessed Fourth Amendment


22
     United States v. Martinez-Fuerte, 428 U.S. 543, 561 (1976).
23
     $40,955.00 in U.S. Currency, 554 F.3d 752, 757.
24
  See Georgia v. Randolph, 547 U.S. 103, 123–24 (2006) (“At least since 1604 it has been
settled that in the absence of exigent circumstances, a government agent has no right to enter a
“house” or “castle” unless authorized to do so by a valid warrant. See Semayne's Case, 5 Co.
Rep. 91a, 77 Eng. Rep. 194 (K.B.). Every occupant of the home has a right-protected by the
common law for centuries and by the Fourth Amendment since 1791 – to refuse entry.”).
25
     Lyall v. City of Los Angeles, 807 F.3d 1178, 1186 (9th Cir. 2015).
26
     See United States v. Reyes-Bosque, 596 F.3d 1017, 1028 (9th Cir. 2010).
27
     Government Opposition, Dkt. 82, at 8.
28
  United States v. Albers, 136 F.3d 670, 672–73 (9th Cir. 1998), as amended on denial of reh'g
(Mar. 20, 1998); quoting South Dakota v. Opperman, 428 U.S. 364, 367 (1976).
29
     Thomas at 1198.



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standing based on him having all the tenets of ownership and control: permission to use the space,

a key for the space, belongings therein, and the ability to exclude others from the space. 30 Second,

the government conflates the objects of the search with the area the search was conducted within.

The Thomas court was not asking who had an ownership interest in the heroin in the trunk of

Thomas’s car, rather its search for a rule was centered on who had the ownership interest in the

car, itself – the place searched. 31 Analogously, this court’s inquiry is not of the items seized from

within Defendant’s house, but instead of the ownership interest Defendant had in the house, itself.

          There is no dispute among the parties that 3108 Seclusion Bay Drive was the Defendant’s

home. All of the evidence seized as a result of the search of the home was found in Defendant’s

bedroom, his wife’s purse, or the master bathroom. 32 The court need not and therefore does not

make a finding as to whether or to what extent the Defendant owned the items found. The

reasonableness inquiry here is “influenced by property law but not controlled by its rules.” 33

Defendant enjoyed a societally-accepted and reasonable expectation of privacy in his home.

Therefore, he may bring a challenge to the warrant which yielded evidence seized from within his

home and is now being used against him. 34


30
  Thomas at 1198. (citing Jones v. United States, 362 U.S. 257 (1960)). See also Minnesota v.
Carter, 525 U.S. 83 (1998) (expounding that while the broader “automatic standing” principle in
Jones was expressly overruled in Rakas v. U.S., the substantive inquiry and holding in Jones
remain valid).
31
     Thomas at 1197.
32
     Dkt. 87, at 2.
33
     Georgia v. Randolph, 547 U.S. 103, 103 (2006).
34
  Alderman v. United States, 394 U.S. 165, (“If the police make an unwarranted search of a
house and seize tangible property belonging to third parties . . . the homeowner may object to its
use against him, not because he had any interest in the seized items as “effects” protected by the
Fourth Amendment, but because they were the fruits of an unauthorized search of his house,
which is itself expressly protected by the Fourth Amendment.”) (A tenant in possession of the
premises enjoys the same legitimate expectation of privacy as a homeowner in possession. See,



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         b.     The Alaska magistrate judge had ample evidence to find probable cause to issue
                the      warrant        for      3108       Seclusion       Bay        Drive.

         The state magistrate judge's “determination [of probable cause] should be paid great

deference” by this court when reviewing her determination for error. 35 As a court sitting in review,

the narrow scope of the inquiry is “simply to ensure that the magistrate had a substantial basis for

concluding that probable cause existed.” 36 In looking for that substantial basis, this court reviews

the totality of the circumstances as they were presented to the magistrate prior to her issuing the

warrant. 37 Further, “opinions and conclusions of an experienced agent regarding a set of facts are

properly a factor in the probable cause equation under the Gates totality of the circumstances

approach.” 38

         Detective Adair presented the magistrate with several facets of his investigation for her

consideration. First, Detective Adair noted the observations of police and corroboration by a

neighbor of frequent, strange, short-duration foot traffic to the Larkspur house. Himself having

purchased heroin from Smith thru a dealer, Adair was certainly aware that Smith was involved

with heroin. Adair’s opinions and conclusions regarding the unusual foot traffic to the defendant’s

and Smith’s house were well grounded in his training and experience generally and his firsthand




e.g., U.S. v. Murphy, 516 F.3d 1117, 1122 (9th Cir. 2008); United States v. Reyes-Bosque, 596
F.3d 1017 (9th Cir. 2010).).
35
   United States v. Kelley, 482 F.3d 1047, 1050 (9th Cir. 2007) (“Normally, we do not
“flyspeck” the affidavit supporting a search warrant through de novo review; rather, the
magistrate judge's determination should be paid great deference.”) (citing Illinois v. Gates, 462
U.S. at 236, (quoting Spinelli v. United States, 393 U.S. 410, 419 (1969))).
36
  United States v. Seybold, 726 F.2d 502, 503 (9th Cir. 1984) (citing United States v. Ventresca,
380 U.S. 102 (1965).).
37
  United States v. Michaelian, 803 F.2d 1042, 1045 (9th Cir. 1986) (citing Illinois v. Gates, 462
U.S. 213, 236 (1983).). See also United States v. Burnes, 816 F.2d 1354, 1357 (9th Cir. 1987)
38
     Michaelian, 803 F.2d 1042, 1045.


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knowledge of Smith’s recent involvement with heroin specifically. These conclusions also

included Detective Adair’s assessment of the defendant’s counter-surveillance behaviors as, when

considered with all of the other suspicious behaviors, consistent with drug trafficking operations.

Finally, the magistrate was made aware of the extremely frequent visits the defendant was making

to a storage locker, several times carrying large safes into and out of the locker. On at least one of

those visits he was accompanied by Smith, and on another occasion the defendant had just returned

home from the locker when Smith left the house to conduct several short-duration meetings around

town.

        The majority of activity in the warrant took place in short succession. Other than the

historical background section, the entire chronology of events indicating probable cause described

in the affidavit took place over approximately two months. The warrant for 3108 Seclusion Bay

Drive was issued approximately one month after Judge Dickson had already issued a warrant for

5422 Larkspur. While Defendant and Smith had only resided at 3108 Seclusion Bay Drive for

about six days prior to the warrant issuing for that location, so the magistrate was well informed

of the activities of Smith and Defendant preceding the first move.            The    affidavit   also

informed the magistrate of the background of the Defendant and Smith so that she had a full grasp

of the totality of the circumstances. Approximately six months prior to the warrant’s issuance,

over three-hundred grams of heroin were found in Smith’s apartment and on the person of his

girlfriend who lived with him. Likewise, Detective Adair was also familiar with Defendant prior

to this investigation. He had information from cooperating witnesses and other investigative

entities within Anchorage indicating that Defendant was involved in upper level heroin sales.

While this information may not stand on its own as substantial bases for probable cause, such

information was provided to the magistrate as additional contextual information for consideration.




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          Defendant argues that during the time period from February to March, 2016 there were

insufficient bases to conclude that Smith lived at 3108 Seclusion Bay Drive, and Smith had not

been directly observed again supplying Detective Adair’s dealer with heroin which the court will

address in turn.

          Defendant agrees that Smith resided with the Flowers’ on Larkspur, but argues there was

insufficient evidence that Smith moved with the family to 3108 Seclusion Bay Drive. Defendant

argues that the observation by law enforcement on March 18th of Defendant “and others” moving

items from Best Storage to Seclusion Bay was not dispositive. 39 However, the identity of the other

individuals is relevant, especially considering Davon Smith was among the individuals with

Defendant moving items to Seclusion Bay. Over the course of the next five days, as Detective

Adair avers to the magistrate in his affidavit, the ongoing physical and electronic surveillance of

Defendant, Smith, their vehicles, and 3108 Seclusion Bay Drive led him to conclude that both

Smith and Defendant indeed resided at the new address on Seclusion Bay Drive.

          Detective Adair further explained that the visual and electronic surveillance, which had

been ongoing for many weeks, led him to conclude that Smith was residing at 3108 Seclusion Bay.

While Detective Adair only provided one day's in-depth chronology of Smith at Seclusion Bay,

Smith had just moved to Seclusion Bay and the activities of that day were especially relevant to

the probable cause determination. Indeed, Smith was observed leaving 3108 Seclusion Bay Drive

moments after the Defendant arrived home from the suspect storage locker, driving to four

different locations in and around Anchorage, stopping for a few to several minutes, and at least

twice engaging in a short duration meeting with others. Based on Detective Adair’s training and



39
     Dkt. 53, at 7.



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experience, the magistrate was properly informed of Adair’s opinions regarding Smith’s ongoing

behaviors. 40

        Moreover, Adair noted that Smith both departed and returned for the night to 3108

Seclusion Bay Drive following his itinerary of short duration stops around Anchorage. Smith and

Defendant had only moved to Seclusion Bay four days earlier. The magistrate’s reliance on

Detective Adair’s conclusion that, based on physical and electronic surveillance, Smith was

residing at 3108 Seclusion Bay Drive, was properly part of her assessment of the totality of the

circumstances.

        The court notes that Smith was not observed directly selling heroin in the month prior to

the warrant’s issuance. However, the magistrate was properly presented with that fact as part of

her probable cause inquiry. She was additionally made aware of the various activities police

observed of Smith since his last heroin sale to Detective Adair, via Adair’s dealer. Indeed, it is not

as if police were unaware of Smith’s whereabouts during this period of time. To the contrary, the

police informed the magistrate of, among other things, the dealer’s communication to Adair that

Smith was in the process of resupplying with heroin. That same day, police observed Smith with

the defendant on the fourth floor of Best Storage. The next day, Smith was observed departing on

his several short duration trips around town just moments after Defendant again arrived home from

another visit to Best Storage. The unusually frequent visits by Flowers II to his storage unit at odd

hours are not read in isolation. On at least five occasions police observed Defendant and his helpers

hauling large safes to and from locker number 4045, with three of those occasions occurring the

week the warrant in question was executed. Defendant was observed removing cash from one of



40
  Detective Adair also recalled the two undercover heroin purchases where Adair directly
observed Smith making short duration visits to Adair's known dealer.


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the safes in one of those instances. Detective Adair concluded that all of these behaviors taken

together were consistent with behaviors of drug traffickers. The magistrate’s reliance on Adair’s

opinions and conclusions in these regards was properly part of her review of the totality of all of

the circumstances, as they were well chronicled in his affidavit for her consideration.

         Considering the length, detail, and multi-faceted nature of the information in Detective

Adair’s affidavit, the magistrate was presented with the totality of the circumstances as they existed

at the time. While it could be true that no one piece of information provided therein rose to the

level of creating probable cause, the many various pieces of the investigation were before the

magistrate for her consideration. This court’s review is not one that searches for a de novo probable

cause determination. Rather, this court simply looks to see if there was some basis for the original

determination and whether that basis was substantial. The court finds that there was a substantial

basis for the magistrate to find probable cause of illegal activity related to 3108 Seclusion Bay

Drive when she issued the warrant.

         c.      The good faith exception would apply to the warrant.

         The United States also argues that, if the warrant was invalid, suppression would be

improper under the doctrine of good faith. Defendant disagrees. The court finds that the warrant

was valid when issued, but even if it was not valid, suppression would be inappropriate the officers

acted in good faith when applying for and then relying upon it.

         The Supreme Court and the Ninth Circuit have acknowledged that in the case of a later

invalidated warrant, suppression is improper if officers acted in good faith with “objectively

reasonable reliance” on the warrant. 41     The totality of the circumstances will be assessed in

determining good faith, but four per se exceptions-to-the-exception have been laid down.


41
     United States v. Underwood, 725 F.3d 1076, 1085 (9th Cir. 2013).


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                   (1) where the affiant recklessly or knowingly placed false information in the
                   affidavit that misled the issuing judge; (2) where the judge wholly abandons his or
                   her judicial role; (3) where the affidavit is so lacking in indicia of probable cause
                   as to render official belief in its existence entirely unreasonable; and (4) where the
                   warrant is so facially deficient—i.e., in failing to particularize the place to be
                   searched or the things to be seized—that the executing officers cannot reasonably
                                                                                                        42
                   presume                it             to             be            valid.

Defendant argues that the first exception applies, contending Detective Adair put forth false

information in two instances which mislead the magistrate. Defendant argues that Adair’s affidavit

falsely described Defendant's trips to and from a storage locker with large safes, at odd hours, as

being “routine.” Second, Defendant contends that Adair failed to inform the magistrate that the

Defendant’s wife was Smith's court-appointed custodian requiring Smith reside with the Flowers.

Both allegations fail to disestablish good faith.

         As to the first contention about trips to the storage unit with safes, the court notes the

Defendant carried large safes on at least five occasions to and/or from locker #4045 within a short

time frame in which he had indicated he was resupplying. Other adverbs such as “frequently” or

“often” may also have applied, but semantical quibbling over the use of "routinely" instead of

other adverbs is particularly the flyspecking of an affidavit our Ninth Circuit disfavors. 43 Even if

Detective Adair's description was false, it was not false recklessly or knowingly. At most, the

affidavit used an imprecise word to describe an indisputedly frequent visitation to the storage

unit. 44 Finally, in any event, the terminal element is lacking: the magistrate was not misled. She


42
     Underwood, 725 F.3d at 1085.
43
     See FN. 29.
44
  See Franks, 438 U.S. at 171; see also United States v. Miller, 753 F.2d 1475, 1478 (9th Cir.
1985) (holding that the defendant failed to establish that federal agents exhibited a reckless
disregard for the truth in their search warrant affidavit when it alleged that the agents failed to
check the criminal background of the informant—such allegations amount to no more than
negligence).



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was presented with detailed, sometimes redundant, information with which she could determine

the characterization of the frequency of Defendant’s visits to the storage locker.

          With regard to Detective Adair’s omission that Smith was residing with the Flowers’

pursuant to a court order stemming from his other pending drug case, that omission was

immaterial. While omissions are reviewable under the same principle as false statements, 45 on

review they must be material so as to remove probable cause before a warrant will be invalidated. 46

The addition of this fact does little to contradict the magistrate's finding of probable cause related

to 3108 Seclusion Bay Drive when she issued the warrant as described at length above.

                                                  Conclusion

          The defendant asked the court to suppress all evidence derived from search state search

warrant #3AN-16-824, which authorized the search of 3108 Seclusion Bay Drive in Anchorage,

Alaska. For the reasons stated above, this motion to suppress evidence should be DENIED.

          IT IS SO RECOMMENDED.

                                 DATED this 22nd day of September 2016 at Fairbanks, Alaska.

                                                               __s/_SCOTT A. ORAVEC___
                                                               SCOTT A. ORAVEC
                                                               United States Magistrate Judge




45
     United States v. Stanert, 762 F.2d 775, 781 (9th Cir. 1985).
46
     See United States v. Ippolito, 774 F.2d 1482, 1485 (9th Cir. 1985).


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